Case 2:19-bk-52861         Doc 100    Filed 01/13/22 Entered 01/13/22 14:18:47         Desc Main
                                     Document     Page 1 of 18


 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.


 IT IS SO ORDERED.



 Dated: January 13, 2022




                            UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 In re:                                         :           Chapter 7
                                                :
          Jose R. Villavicencio,                :           Case No. 19-52861
                                                :
                 Debtor.                        :           Judge Hoffman

                OPINION AND ORDER ON THE TRUSTEE’S OBJECTIONS
                TO THE DEBTOR’S CLAIMED EXEMPTIONS (Docs. 55 & 82)

                                          I. Introduction

          An individual debtor may exempt certain property from his bankruptcy estate. But to do

 so the debtor must have an interest in property of the kind described in the applicable exemption

 statute on the date he files his case. The two exemptions claimed by the debtor, Jose R.

 Villavicencio (“Villavicencio”), fail this basic test. Invoking Ohio’s homestead exemption,

 Villavicencio seeks to exempt the property where he resided (and still resides) when he filed his

 bankruptcy petition. But Villavicencio does not have an interest in that property. Rather, that

 interest is held by a limited liability company he owns and controls. The exemption Villavicencio

 claims in his self-directed individual retirement account (“SEP IRA”) fares no better. Because he

 engaged in a transaction prohibited by Internal Revenue Code provisions governing IRAs,
Case 2:19-bk-52861         Doc 100    Filed 01/13/22 Entered 01/13/22 14:18:47              Desc Main
                                     Document     Page 2 of 18



 Villavicencio’s SEP IRA lost its status as a tax-exempt IRA long before he filed his bankruptcy

 petition. Thus, Villavicencio’s SEP IRA —like his residence—is not exemptible under Ohio law.

                            II. Jurisdiction and Constitutional Authority

           The Court has jurisdiction to hear and determine this matter under 28 U.S.C. § 1334(b) and

 the general order of reference entered in this district in accordance with 28 U.S.C. § 157(a). The

 allowance of exemptions from property of the estate is a core proceeding.                 28 U.S.C.

 § 157(b)(2)(B). Because this contested matter “stems from the bankruptcy itself,” the Court also

 has the constitutional authority to enter a final judgment. Stern v. Marshall, 564 U.S. 462, 499

 (2011).

                                           III. Background

 A.        The Evidentiary Record

           After Myron N. Terlecky, the Chapter 7 trustee (“Trustee”), objected to the exemptions

 claimed by Villavicencio, the Court held a hearing on his objections and later conducted a follow-

 up status conference to clarify the record made at the hearing. The evidentiary record includes:

 (1) Villavicencio’s hearing testimony;1 (2) the Trustee’s Exhibits 1 through 13;2 which were

 admitted into evidence without objection; and (3) admissions made by Villavicencio.

 Villavicencio’s admissions were made after he failed to respond to the Trustee’s request for

 admissions, the Trustee filed an unopposed Motion to Deem Facts Admitted as Against Debtor

 (Doc. 68) (“Admissions Motion”) and the Court granted the motion (Doc. 80). The Court will

 refer to each fact admitted as “Admission No. __.” Though not evidence, the statements made by

 counsel at the status conference in response to questions posed by the Court helped clarify the



           1
           The Court will cite the transcripts of the hearing (Doc. 96) and the status conference (Doc.
 98) as “Hr’g Tr.” and “Status Conf. Tr.,” respectively.
         2
           When citing documents in the record, the Court will cite to the PDF page number.
                                                   2
Case 2:19-bk-52861        Doc 100     Filed 01/13/22 Entered 01/13/22 14:18:47              Desc Main
                                     Document     Page 3 of 18



 record made at the initial hearing. Because there was no disagreement between counsel for the

 parties as to the substance of the clarifying statements made at the status conference, the Court will

 treat those statements as stipulations of fact.

 B.     Procedural History and Factual Findings

        On May 1, 2019 (“Petition Date”), Villavicencio filed a voluntary petition for relief under

 Chapter 7 of the Bankruptcy Code. As of the Petition Date:

            Villavicencio was the sole member of JRV SEPIRA LLC, an Ohio
          limited liability company (“LLC”). Admissions Mot. at 14 (Admission No.
          2);

            The LLC owned multiple parcels of real property, id. at 15 (Admission
          No. 6); Hr’g Tr. at 26;

               The LLC generated income by renting the properties; Hr’g Tr. at 33–34;

            The LLC was buying one parcel of real property located at 3339 Daglow
          Road, Columbus, Ohio (“Daglow Property”) from an individual named Joseph
          F. Miccio on a land contract that was recorded with the Franklin County
          Recorder in November 2017. Admissions Mot. at 14 (Admission No. 3); Hr’g
          Tr. at 14, 30; and

            Villavicencio resided at the Daglow Property. Admissions Mot. at 14
          (Admission No. 1).

        Where did the LLC get the funds to buy the properties it owns? To answer that question,

 some history is in order. Villavicencio worked as an emergency-medicine physician for Premier

 Medical Services for several years. Hr’g Tr. at 32. One of the employment benefits that Premier

 offered was an IRA to which Villavicencio contributed. Id. When Premier was bought out, on the

 advice of his financial advisor—Broad Financial—Villavicencio rolled over the funds in the

 Premier IRA to the SEP IRA. The SEP IRA was administered by Madison Trust Company, the

 custodian of the account. Id. at 32, 37. Villavicencio explained that “[t]here was professional

 management of the [SEP] IRA at Premier and [he] did not concern [him]self with it. But when


                                                   3
Case 2:19-bk-52861       Doc 100    Filed 01/13/22 Entered 01/13/22 14:18:47            Desc Main
                                   Document     Page 4 of 18



 [Premier was bought out], [he] wanted to be able to direct his own retirement account.” Id. at 32–

 33.

        After establishing the SEP IRA, Villavicencio made the decision to use the funds it held to

 invest in real estate. So back in March 2017 Villavicencio withdrew the $243,537.67 on account

 at Madison Trust, and transferred some of the withdrawn funds to the LLC. Admissions Mot. at

 15 (Admission Nos. 8 and 9); Hr’g Tr. at 17–18. He deposited $199,667.91 of the funds withdrawn

 from the SEP IRA into a bank account at Fifth Third Bank.3 Hr’g Tr. at 19. Villavicencio then

 used those funds to purchase properties in the name of the LLC. Id. at 22, 26. As of the Petition

 Date, there was less than $1,000 in the Fifth Third Bank account, with most of the funds having

 been used to purchase real estate or make payments on the land contract for the Daglow Property.

 Admission Motion at 15 (Admission No. 5); Status Conf. Tr. at 19.

        Among the schedules of assets and liabilities Villavicencio filed along with his bankruptcy

 petition was “Schedule C: The Property You Claim as Exempt.” Doc. 1 (Bankruptcy Pet. &

 Schedules) at 18.    After making several amendments to this schedule, Docs. 54 and 76,

 Villavicencio settled on, among others, two exemptions in property described as “Madison Trust

 (JRV SEPIRA LLC),” which he valued at $240,000.4 Doc. 76 at 13. First, Villavicencio claimed

 an exemption of $240,000 under § 2329.66(A)(10)(c) of the Ohio Revised Code, id. (Amended

 Schedule C) at 13, which grants an exemption in a debtor’s individual retirement account. Second,

 he claimed Madison Trust (JRV SEPIRA LLC) exempt under Ohio’s homestead exemption,




        3
           When asked what happened to the difference between the $243,537.67 withdrawn from
 the SEP IRA and the $199,667.91 deposited into the Fifth Third account, Villavicencio testified
 that he could not recall. Hr’g Tr. at 19.
         4
           At the status conference the parties agreed that the $240,000 value of the LLC stated in
 the bankruptcy schedules was Villavicencio’s estimated value of the real property owned by the
 LLC on the Petition Date. Status Conf. Tr. at 6, 19.
                                                 4
Case 2:19-bk-52861         Doc 100       Filed 01/13/22 Entered 01/13/22 14:18:47             Desc Main
                                        Document     Page 5 of 18



 presumably because he resides at one of the properties held by the LLC—the Daglow Property.5

 The homestead exemption afforded by Ohio Revised Code § 2329.66(A)(1)(b) provides that a

 debtor may exempt his interest, up to the statutory limit of $145,425, in “one parcel or item of real

 or personal property that the person or a dependent of the person uses as a residence.” Ohio Rev.

 Code § 2329.66(A)(1)(b). Thus, the second exemption Villavicencio claimed for the Madison

 Trust (JRV SEPIRA LLC) was in the amount of $145,425. Doc. 76 (Amended Schedule C) at 13.

         As stated above, the Trustee objected to both exemptions. According to the Trustee,

 “[p]roperty of the LLC, including the Daglow [Property], is the interest of the LLC” rather than

 Villavicencio, and he therefore “lacks the requisite interest in the Daglow [Property] to claim” an

 exemption under Ohio Revised Code § 2329.66(A)(1)(b). Doc. 82 (Trustee’s Obj.) at 6. As for

 the IRA exemption claimed under Ohio Revised Code § 2329.66(A)(10)(c),6 the Trustee claims

 that Villavicencio’s use of the Daglow Property as his personal residence was a prohibited

 transaction under the laws governing individual retirement accounts. The Trustee’s argument on

 that score distills to three points:

               “Under IRA guidelines, when an owner of an individual retirement
         account engages in a prohibited transaction, the account ceases being a
         retirement account as of the first day of the year of the prohibited transaction.”




         5
           As stated, the LLC is purchasing the Daglow Property from Joseph Miccio on a land
 contract recorded with the Franklin County Recorder in November 2017.
         6
           Villavicencio originally claimed an exemption in the SEP IRA under § 2329.66(A)(10)(b)
 of the Ohio Revised Code, Doc. 1 at 19, which permits debtors to exempt their right to receive a
 payment or other benefit under a pension, annuity, or similar plan or contract. Villavicencio filed
 an amended Schedule C the day before the hearing to claim an exemption under §
 2329.66(A)(10)(c), Doc. 76 at 13, which allows debtors to exempt their interests in individual
 retirement accounts. In the amended Schedule C, Villavicencio also, for the first time, claimed an
 exemption in the Daglow Property under § 2329.66(A)(1)(b)—the Ohio homestead exemption.
 Id. The parties agreed that the hearing could go forward despite Villavicencio’s claiming the
 exemptions under §§ 2329.66(A)(10)(c) and 2329.66(A)(1)(b) on the eve of the hearing. Hr’g Tr.
 at 5–8.
                                                   5
Case 2:19-bk-52861       Doc 100    Filed 01/13/22 Entered 01/13/22 14:18:47               Desc Main
                                   Document     Page 6 of 18



              “As a result of using the Daglow [Property] as the Debtor’s personal
        residence, the [SEP] IRA ceased being a retirement account as of January 1,
        2017.”

               Thus, on the Petition Date “[t]here [was] no retirement account to which
        the claimed exemption may apply.”

 Doc. 55 (Trustee’s Obj.) at 3.

        Villavicencio and his counsel conceded during the hearing that, in managing his SEP IRA,

 he violated Internal Revenue Service regulations that must be obeyed for an IRA to maintain its

 tax-exempt status. Hr’g Tr. at 10, 34. Although he admitted engaging in “transactions” violative

 of IRS rules, id. at 34, only one such transaction was identified at the hearing. That “transaction”

 was Villavicencio’s residing at the Daglow Property, one of the investment properties held—

 through the LLC—by the SEP IRA. Despite that violation, Villavicencio asserts that he may still

 exempt the SEP IRA because Ohio Revised Code § 2329.66(A)(10)(g) provides a safe harbor.

 Hr’g Tr. at 12. This provision states that interests in retirement plans and the like will be exempt

 even if they fail to satisfy applicable law if the failure was due to “an error made in good faith.”

 Ohio Rev. Code § 2329.66(A)(10)(g). Given this argument—sprung on opposing counsel and the

 Court for the first time at the hearing—the Court entered an agreed order (Doc. 77) allowing

 counsel for the Trustee and Villavicencio the opportunity to brief the newly raised issue.7

        The Trustee then filed a separate objection to the homestead exemption Villavicencio

 claimed under Ohio Revised Code § 2329.66(A)(1)(b). Doc. 82 (Trustee’s Obj.).8 He also filed a



 7
  After entering the agreed order, the Court received the following supplemental briefing: (1)
 Villavicencio’s brief on the applicability of Ohio Revised Code § 2329.66(A)(10)(g) (Doc. 83);
 (2) Trustee’s reply brief (Doc. 86); and (3) Villavicencio’s response (Doc. 89).
 8
  The Trustee’s objection to Villavicencio’s claimed homestead exemption prompted these filings:
 (1) Villavicencio’s response (Doc. 87); (2) Trustee’s reply (Doc. 88); and (3) Trustee’s supplement
 to his objection (Doc. 92).


                                                  6
Case 2:19-bk-52861        Doc 100     Filed 01/13/22 Entered 01/13/22 14:18:47               Desc Main
                                     Document     Page 7 of 18



 motion (Doc. 84), which was not opposed by Villavicencio, requesting that the Court take judicial

 notice in accordance with Rule 201 of the Federal Rules of Evidence of the record of two adversary

 proceedings: Adv. Pro. No 19-2097, Coward v. Villavicencio (“Coward Adversary Proceeding”)

 and Adv. Pro. No. 19-2140, McDermont v. Villavicencio (“McDermott Adversary Proceeding”).

                                          IV. Legal Analysis

 A.      Exemptions: Purpose, Scope and the Burden of Proof

        The filing of a petition for relief under the Bankruptcy Code creates a bankruptcy estate

 that includes “all legal or equitable interests of the debtor in property as of the commencement of

 the case.” 11 U.S.C. § 541(a)(1). This “property of the estate” may be sold by the trustee after

 notice and a hearing. 11 U.S.C. § 363(b)(1). To keep a trustee from selling property of the estate,

 a debtor may claim the property as “exempt.”

        As one commentator has explained:

             Exemption legislation embodies a deliberate choice of policy to prefer
             the social interest in providing a minimum of economic security and
             other benefits to debtors and their families over the economic interest
             to be served by assuring creditors the maximum availability of their
             debtor’s property for the satisfaction of their claims.

 Frank R. Kennedy, Limitation of Exemptions in Bankruptcy, 45 Iowa L. Rev. 445, 447–48 (1960).

 Exemptions “give . . . [] debtors a so-called ‘grub-stake’ to begin their fresh start and . . . act as a

 safety net, so that the debtor and his family are not completely impoverished due to creditor

 collection action or bankruptcy such that they become wards of the state.” In re Robinson, 292

 B.R. 599, 606 (Bankr. S.D. Ohio 2003) (internal quotation marks omitted); see also Rousey v.

 Jacoway, 544 U.S. 320, 325 (2005) (“To help the debtor obtain a fresh start, the Bankruptcy Code




                                                    7
Case 2:19-bk-52861        Doc 100     Filed 01/13/22 Entered 01/13/22 14:18:47            Desc Main
                                     Document     Page 8 of 18



 permits him to withdraw from the estate certain interests in property, such as his car or home, up

 to certain values.” (citations omitted)).

        “Individual debtors may exempt from property of the estate either: (1) the property exempt

 under applicable state law and federal nonbankruptcy law; or (2) the property identified in § 522(d)

 of the Bankruptcy Code, unless applicable state law specifically does not authorize debtors to use

 the § 522(d) exemptions.” In re Weatherspoon, 605 B.R. 472, 482 (Bankr. S.D. Ohio 2019) (citing

 11 U.S.C. § 522(b)(1)–(3)). As a resident of Ohio, Villavicencio may, for the most part, claim

 only the exemptions available under Ohio law.9 Ohio Rev. Code. § 2329.662 (stating that “[Ohio]

 specifically does not authorize debtors who are domiciled in this state to exempt the property

 specified in the [the Bankruptcy Code]”).

        “There is a prima facie presumption that an exemption claimed by a debtor is proper.” In

 re Bellisari, 554 B.R. 440, 443 (Bankr. S.D. Ohio 2016). Parties in interest, such as the Trustee,

 may object to a claimed exemption. The objector bears the burden of proving, by a preponderance

 of evidence, that the debtor is not entitled to the exemption. Id. at 443–44. If the objecting party

 introduces evidence sufficient to rebut the prima facie validity of the exemption, then the burden

 shifts to the debtor to show that the exemption is proper. Id. at 444. As to both exemptions at

 issue, the Trustee has met his initial burden and Villavicencio has failed to show that the

 exemptions are proper.




        9
          Ohio residents may also claim the exemptions under federal law that are set forth in
 § 522(b)(3)(B) and (C). See In re Bauman, No. 11 B 32418, 2014 WL 816407, at *12 n.12 (Bankr.
 N.D. Ill. Mar. 4, 2014) (“Courts sometimes say that because of the ‘opt out,’ a[] debtor can claim
 only the . . . state law exemptions. Not quite. In addition to the exemptions permitted under state
 law, a debtor in an ‘opt out’ state can claim the other exemptions in section 522(b)(3). When that
 debtor’s property includes an interest in retirement funds, he can claim any applicable state law
 exemption and also the retirement fund exemption in section 522(b)(3)(C).”). Villavicencio has
 not claimed the retirement fund exemption under federal law.
                                                  8
Case 2:19-bk-52861         Doc 100    Filed 01/13/22 Entered 01/13/22 14:18:47            Desc Main
                                     Document     Page 9 of 18



 B.     Ohio Revised Code § 2329.66(A)(1)(b): The Homestead Exemption

        The LLC is buying the Daglow Property where Villavicencio resides through its land

 contract with Miccio. Villavicencio claims an exemption under Ohio Revised Code §

 2329.66(A)(1)(b), which permits debtors to exempt a portion of their interest in real property they

 use as a residence. Ohio’s homestead exemption permits a person to exempt “the person’s interest,

 not to exceed one hundred [forty-five thousand four hundred twenty-five] dollars, in one parcel or

 item of real or personal property that the person or dependent of the person uses as a residence.”

 Ohio Rev. Code § 2329.66(A)(1)(b) (emphasis added). 10 Villavicencio, however, does not have

 an interest in the Daglow Property. Instead, it is the LLC that holds an interest in the Daglow

 Property through its land contract with Miccio.

        The Bankruptcy Appellate Panel for the Sixth Circuit has held that the homestead

 exemption is unavailable under these circumstances. In re Breece, No. 12-8018, 2013 WL 197399,

 at *9 (B.A.P. 6th Cir. Jan. 18, 2013). In Breece, the BAP ruled that a debtor could not claim the

 homestead exemption in real property owned by the debtor’s limited liability company because

 the debtor did not have an interest in the real property. Id. This was because, under Ohio law, a


        10
             Ohio law provides for adjustment of the amount of the homestead exemption:

                (B) On April 1, 2010, and on the first day of April in each third
                calendar year after 2010, the Ohio judicial conference shall adjust
                each dollar amount set forth in this section to reflect any increase
                in the consumer price index for all urban consumers, as published
                by the United States department of labor, or, if that index is no
                longer published, a generally available comparable index, for the
                three-year period ending on the thirty-first day of December of the
                preceding year.
 Ohio Rev. Code § 2329.66(B).         The adjusted dollar amounts may be examined at
 http://www.ohiojudges.org by going to the “Resources” tab, selecting “Publications” and then
 viewing “Exemptions.” The amount of the homestead exemption available to Villavicencio as of
 the Petition Date was $145,425.

                                                    9
Case 2:19-bk-52861         Doc 100 Filed 01/13/22 Entered 01/13/22 14:18:47                     Desc Main
                                  Document    Page 10 of 18



 “membership interest in a limited liability company. . . does not confer upon the member any

 specific interest in company property, whether personal property or real property. Such property

 is, instead, held and [owned] solely by the company.” Id. at *3 (internal quotation marks omitted).

 Other courts have come to the same conclusion: A debtor is not entitled to a homestead exemption

 in real property owned by a limited liability company in which he holds a membership interest.

 Why? Because, as the Breece court held, a debtor’s interest in a limited liability company does not

 create an exemptible interest in the company’s property. See Schaefers v. Blizzard Energy, Inc.

 (In re Schaefers), No. 9:19-BK-11163-MB, 2020 WL 7043564, at *4–5 (B.A.P. 9th Cir. Dec. 1,

 2020) (holding that the debtor could not claim a homestead exemption in real property owned by

 the debtor’s limited liability company); In re Hess, 618 B.R. 13, 15 (Bankr. D.N.M. 2020) (same);

 In re Stewart, No. 09-37257, 2010 Bankr. LEXIS 6517, at *11–12 (Bankr. N.D. Ohio Oct. 1, 2010)

 (same). So too here: Villavicencio’s interest in the LLC did not give him an exemptible interest

 in the Daglow Property.

         Against all this authority Villavicencio pits In re Starr, 485 B.R. 835 (Bankr. N.D. Ohio

 2012), arguing that the reasoning of that decision means that the “Debtor should receive the benefit

 of the exemption pursuant to his beneficia[l] interest” in the Daglow Property. Doc. 87 at 3. But

 Starr doesn’t move the needle. That case involved real property held in a trust. And the debtor

 was both the trustee and one of the beneficiaries of the trust. So when the debtor filed her

 bankruptcy case, “her beneficial and legal interests in the Trust became property of the bankruptcy

 estate,” and “[a]s trustee, she held legal title to the real estate comprising part of the trust corpus[.]”

 Starr, 485 B.R. at 840. Villavicencio, by contrast, holds no beneficial interest or any other interest

 in the Daglow Property, which is owned by the LLC (or, more accurately, is being bought by the

 LLC). Thus, Starr is not on point. In the end, Villavicencio’s claim of a homestead exemption



                                                     10
Case 2:19-bk-52861        Doc 100 Filed 01/13/22 Entered 01/13/22 14:18:47                   Desc Main
                                 Document    Page 11 of 18



 under Ohio Revised Code § 2329.66(A)(1)(b) must fail because he held no interest in the Daglow

 Property on the Petition Date. That interest was held by the LLC.

 C.      Ohio Revised Code § 2329.66(A)(10)(c): The IRA Exemption

        Villavicencio’s second exemption claim also falls short. Section 2329.66(A)(10)(c) of the

 Ohio Revised Code provides for an exemption in, among other things, a “person’s rights or

 interests in the assets held in, or to directly or indirectly receive any payment or benefit under, any

 individual retirement account. . . .” Ohio Rev. Code § 2329.66(A)(10)(c). An individual retirement

 account “exists only because of the [Internal Revenue] Code.” In re Roberts, 326 B.R. 424, 427

 (Bankr. S.D. Ohio 2004). And it is “the [Internal Revenue] Code [that] . . . determine[s] whether

 or not an investment vehicle is an IRA in the first place or whether or not that investment vehicle

 has lost its status as an IRA.” Id.

        Individual retirement accounts are governed by section 408 of the Internal Revenue Code.

 Here, the parties agree that the SEP IRA satisfied the requirements of section 408 and was thus a

 tax-exempt individual retirement account when it was formed. But if the “individual for whose

 benefit [the] individual retirement account is established . . . engages in any transaction prohibited

 by section 4975 with respect to such account [,]” the account loses its tax-exempt status as an IRA.

 26 U.S.C. § 408(e)(2)(A). Section 4975 defines “prohibited transaction” to mean, among other

 things, the “transfer to, or use by or for the benefit of, a disqualified person of the income or assets

 of a plan.” 26 U.S.C. § 4975(c)(1)(D). A “disqualified person” includes a “fiduciary,” 26 U.S.C.

 § 4975(e)(2)(A), and a “fiduciary” is defined as “any person who exercises any discretionary

 authority or discretionary control respecting management of such plan or exercises any authority

 or control respecting management or disposition of its assets[.]” 26 U.S.C. § 4975(e)(3)(A).




                                                   11
Case 2:19-bk-52861       Doc 100 Filed 01/13/22 Entered 01/13/22 14:18:47                Desc Main
                                Document    Page 12 of 18



 Because Villavicencio had authority and control over the management and disposition of the assets

 of the SEP IRA, Hr’g Tr. at 18, he is a fiduciary and thus a disqualified person.

        Villavicencio’s use of the Daglow Property as his personal residence constituted a

 “prohibited transaction” under the Internal Revenue Code because it was the “use by . . . a

 disqualified person of the income or assets of a plan” under 26 U.S.C. § 4975(c)(1)(D). In re

 Yerian v. Webber (In re Yerian), No. 6:17-cv-459-Orl-37, 2018 WL 8758736, at *4 (M.D. Fla.

 Feb. 9, 2018) (“[T]he IRA is not exempt at step one. As the Bankruptcy Court found—and Debtor

 does not contest—the IRA was not maintained in accordance with IRC § 408. This was because

 Debtor used IRA assets to engage in prohibited transactions, specifically to purchase two vehicles

 titled in his and [his wife’s] individual names and property in Puerto Rico where Debtor stayed for

 non-IRA purposes.”) aff’d, 927 F.3d 1223 (11th Cir. 2019). Thus, under section 408(e)(2)(A), the

 SEP IRA lost its tax-exempt status as an individual retirement account no later than the first day

 of the taxable year that Villavicencio lived at the Daglow Property, which was well before the

 Petition Date. Indeed, Villavicencio does not dispute that section 408(e)(2)(A) of the Internal

 Revenue Code applies, and he admits that he engaged in a transaction prohibited by section 4975.

 Hr’g Tr. at 34. Because he did so, the SEP IRA was not a tax-exempt individual retirement account

 on the Petition Date. And having lost its tax-exempt status under the Internal Revenue Code, the

 SEP IRA likewise loses its exempt status under Ohio Rev. Code § 2329.66(A)(10)(c). In re

 Meredith, 2005 Bankr. LEXIS 2798, at *20 (Bankr. E.D. Va. May 19, 2005) (holding that, because

 the debtor engaged in a prohibited transaction under section 4975 of the Internal Revenue Code,

 his individual retirement account lost its tax-exempt status under section 408(e)(2), meaning that

 the debtor could not exempt the account under the state law exemption for individual retirement

 accounts).



                                                 12
Case 2:19-bk-52861        Doc 100 Filed 01/13/22 Entered 01/13/22 14:18:47                  Desc Main
                                 Document    Page 13 of 18



        Though Villavicencio admits that he engaged in a prohibited transaction, he argues that

 Ohio Revised Code § 2329.66(A)(10)(g) saves the day. That provision states that

                [a] person’s interest in any plan, program, instrument, or device
                described in divisions (A)(10)(a) to (e) of this section shall be
                considered an exempt interest even if the plan, program, instrument,
                or device in question, due to an error made in good faith, failed to
                satisfy any criteria applicable to that plan, program, instrument, or
                device under the “Internal Revenue Code of 1986[.]”

 Ohio Rev. Code § 2329.66(A)(10)(g).

        There are no decisions interpreting Ohio Revised Code § 2329.66(A)(10)(g). But a similar

 statute was construed by the bankruptcy court in In re Bauman, No. 11 B 32418, 2014 WL 816407

 (Bankr. N.D. Ill. Mar. 4, 2014). There, the debtor claimed his interest in the Bauman Venture

 Corporation Pension Plan and Trust (“Bauman Venture Plan”) was exempt under Illinois law. The

 Illinois exemption statute stated that a debtor may exempt his interest in a retirement plan “if the

 plan . . . is intended in good faith to qualify as a retirement plan under applicable provisions of the

 Internal Revenue Code[.]” 735 Ill. Comp. Stat. Ann. 5/12-1006(a) (West 2021). The debtor was

 the sole participant in the Bauman Venture Plan, and his wholly-owned corporation, Bauman

 Venture Corp., was the plan sponsor. Contributions made to the Bauman Venture Plan and

 distributions made to the debtor both “failed to comply with the [Internal Revenue Code] and

 disqualified the [Bauman Venture] Plan from favorable tax treatment.” Id. at *17. The debtor

 argued that he still was entitled to exempt his interest in the Bauman Venture Plan because he

 intended it in good faith to qualify as a retirement plan.

        Unpersuaded, the Bauman court rejected the debtor’s argument. It began by noting that

 “good faith under section 12-1006 is necessarily a fact-specific determination to be made on a

 case-by-case basis.” Id. at *15. The court then pointed out that




                                                   13
Case 2:19-bk-52861       Doc 100 Filed 01/13/22 Entered 01/13/22 14:18:47                   Desc Main
                                Document    Page 14 of 18



                [t]he context here alters the “good faith” analysis. A large corporate
                employer with hundreds of employees establishes and maintains the
                plan itself; the employer is in charge. An individual employee does
                little more than agree to participate in the plan, render services to the
                employer, and then accept the benefits when he retires. When the
                employee later tries to shield his retirement funds from creditors
                under section 12–1006 and it turns out the plan lost its qualification
                under the [Internal Revenue Code] because of some operational
                defect, the participant can still claim the exemption because he
                relied on his employer. . . .

                The Bauman Venture Plan is not the pension plan of a large
                corporate employer, and Bauman is not one of hundreds of
                employees who signed a form agreeing to participate in the plan.
                Bauman is the sole owner and operator of the plan sponsor, Bauman
                Venture, as well as the trustee of the plan’s trust. The Bauman
                Venture Plan came about only because Bauman himself caused it to
                be created. Bauman is in charge, entrusted with the Plan’s assets.
                Because this case is not the ordinary one involving an employee of
                a large business, the “good faith” analysis changes accordingly. For
                someone like Bauman to satisfy the “good faith” requirement of
                section 12–1006, substantially more can be expected.

 Id. at *16.

         According to the Bauman court, the debtor operated the Bauman Venture Plan in the way

 he did “not from any wrongful intent, but because he knew no better.” Id. at *18. The problem,

 the court said, was that the debtor “knew no better because he never tried to know better,” and

 “[i]nattention will not do. When a debtor is not only a pension plan participant but also the owner

 of the plan sponsor and the trustee of the trust, he must try to become familiar with the [Internal

 Revenue Code’s] requirements and try to comply with them.” Id. The court found that remaining

 “blissfully ignorant . . . with complete indifference” to the governing law could not constitute good

 faith. Id.

         The Bauman court’s reasoning is persuasive. Savings statutes like Ohio Revised Code §

 2329.66(A)(10)(g) (and the Illinois statute at issue in Bauman) do not provide a “get-out-of-jail-

 free card” to debtors who disregard IRS plan-qualification requirements.           Like the debtor in

                                                   14
Case 2:19-bk-52861      Doc 100 Filed 01/13/22 Entered 01/13/22 14:18:47               Desc Main
                               Document    Page 15 of 18



 Bauman, Villavicencio had authority and complete control over the management and disposition

 of the assets of the SEP IRA. As the Bauman court put it, he was “in charge.” Id. But, just as in

 Bauman, Villavicencio paid no heed to IRS requirements governing tax-exempt status—here, to

 those applicable to individual retirement accounts. Villavicencio presented no evidence to show

 that he “tr[ied] to become familiar with the [applicable Internal Revenue Code] requirements and

 tr[ied] to comply with them.” Bauman, 2014 WL 816407, at *18. Rather, like the debtor in

 Bauman, Villavicencio remained “blissfully ignorant . . . [and acted] with complete indifference”

 to the governing law. Id. Thus, by residing in the Daglow Property, Villavicencio did not commit

 “an error made in good faith” under Ohio Revised Code § 2329.66(A)(10)(g).

        Having concluded that Ohio Revised Code § 2329.66(A)(10)(g)’s good-faith savings

 provision does not affect the exemptibility of the SEP IRA, the Court need not weigh the evidence

 the Trustee offers to establish bad faith on Villavicencio’s part. According to the Trustee, that

 evidence is found in the documents he asks the Court to take judicial notice of—that is, the

 documents filed in the Coward Adversary Proceeding and the McDermont Adversary Proceeding.

 Because the Trustee’s request was unopposed, the Court takes judicial notice of those documents,

 which, the Trustee submits, are “vital [to understanding] the full scope of [Villavicencio’s]

 conduct[.]” Doc. 84 at 3.

        In the Coward Adversary Proceeding, the plaintiff sought a determination that a judgment

 entered against Villavicencio by the Franklin County Common Pleas Court in the amount of

 $1,900,000 in punitive damages is nondischargeable as a debt for willful and malicious injury

 under § 523(a)(6) of the Bankruptcy Code. The pleadings filed in the Coward Adversary

 Proceeding alleged that:

              Villavicencio had been a physician before losing his license;



                                                15
Case 2:19-bk-52861       Doc 100 Filed 01/13/22 Entered 01/13/22 14:18:47                   Desc Main
                                Document    Page 16 of 18



               The plaintiffs in the Coward Adversary Proceeding are representatives
        of the estate of an individual (“Decedent”) who had been a patient of
        Villavicencio; and

              Villavicencio “[t]hrough the improper prescribing of lethal doses of
        narcotics and failure to monitor Decedent’s medications to avoid a lethal
        intoxication of various prescribed medications . . . caused the death of Decedent
        through reckless actions and willful misconduct.”

 Coward Adversary Proceeding, Adv. Pro. 19-2097, Doc. 2 (Amended Complaint) at 3–4. And in

 the McDermont Adversary Proceeding, the United States Trustee sought a global denial of

 Villavicencio’s discharge, alleging, among other things, that he failed to disclose assets in his

 bankruptcy schedules and made false oaths. Adv. Pro. 19-2140, Doc. 1 (Complaint) at 4–7. In

 both adversary proceedings, the parties entered into a stipulation and agreed order waiving and

 denying Villavicencio’s discharge under § 727(a)(10) of the Bankruptcy Code. Adv. Pro. 19-2097,

 Doc. 20; Adv. Pro. 19-2140, Doc. 12.

        All of this shows that Villavicencio is guilty of serious misconduct. None of it, however,

 establishes that Villavicencio engaged in the transaction prohibited by the Internal Revenue

 Code—living at the Daglow Property—in bad faith or to defraud creditors. In fact, if Villavicencio

 had not withdrawn cash from his SEP IRA at Madison Trust, then his funds would have remained

 exempt. And as already discussed, it seems that Villavicencio’s decision to live at the Daglow

 Property did not stem from some nefarious scheme, but instead from his failure to become familiar

 with the IRS rules governing individual retirement accounts. Still, in the words of the Bauman

 court, “inattention will not do” when a debtor seeks the protections afforded by a good-faith

 savings clause in a state exemption statute. Bauman, 2014 WL 816407, at *18. The Court

 therefore need not determine that Villavicencio’s “prohibited transaction” (residing in the Daglow

 Property) was undertaken to defraud creditors or otherwise constituted bad-faith misconduct. It

 suffices to say that Villavicencio acted with complete indifference to the IRS rules governing the

                                                 16
Case 2:19-bk-52861        Doc 100 Filed 01/13/22 Entered 01/13/22 14:18:47                  Desc Main
                                 Document    Page 17 of 18



 tax-exempt status of IRAs when he chose to live at the Daglow Property. Thus, by engaging in a

 transaction prohibited by section 4975 of the Internal Revenue Code, Villavicencio did not commit

 an error made in good faith under Ohio Revised Code § 2329.66(A)(10)(g).

        This result squares with the view that Ohio Revised Code § 2329.66(A)(10)(g) is a “savings

 clause” designed to “protect debtors from technical errors made by plan draftsmen or

 administrators.” D. Bowen Loeffler & John E. Sullivan, III, Ohio’s Quiet Revolution: The Ohio

 Asset Management Modernization Act of 2012, 23 No. 3 Ohio Prob. L.J. NL 2 (Jan./Feb. 2013).

 The statute was not designed to bless prohibited transactions by participants in self-directed

 individual retirement accounts. This result also aligns the Ohio exemption statute with federal law

 governing individual retirement accounts. See Ellis v. Comm’r, 787 F.3d 1213, 1216 (8th Cir.

 2015) (“Prohibited transactions include any ‘direct or indirect . . . transfer to, or use by or for the

 benefit of, a disqualified person of the income or assets of a plan;’ or ‘act by a disqualified person

 who is a fiduciary whereby he deals with the income or assets of a plan in his own interest or for

 his own account.’ . . . Such transactions are prohibited even if they are made in good faith or are

 beneficial to the plan.”) (quoting 26 U.S.C. § 4975(c)(1)(D), (E)). And, what’s more, this result

 mirrors the view expressed by the Sixth Circuit in other contexts that good faith requires some

 effort to comply with governing law. See, e.g., United States v. Hendrickson, 822 F.3d 812, 821

 (6th Cir. 2016) (“[T]he good-faith defense to criminal contempt applies only where the defendant

 has made ‘a good faith effort to comply with [the] court order.’”) (quoting United States v.

 Simmons, 215 F.3d 737, 741 (7th Cir. 2000); Thom v. Am. Standard, Inc., 666 F.3d 968, 977 (6th

 Cir. 2012) (“To establish good faith under the FMLA, a defendant must show that ‘it honestly

 intended to ascertain the dictates of the FMLA and to act in conformance with it.’”) (quoting Hite

 v. Vermeer Mfg. Co., 446 F.3d 858, 868 (8th Cir. 2006)).



                                                   17
Case 2:19-bk-52861       Doc 100 Filed 01/13/22 Entered 01/13/22 14:18:47       Desc Main
                                Document    Page 18 of 18



                                           V. Conclusion

        For all these reasons, the Trustee’s objections are SUSTAINED, and Villavicencio’s

 exemptions claimed under both Ohio Revised Code §§ 2329.66(A)(1)(b) and 2329.66(A)(10)(c)

 are DISALLOWED.

        IT IS SO ORDERED.

 Copies to:

 Herbert N. Strayer, Jr., Attorney for the Debtor (electronically)
 Myron N. Terlecky, Chapter 7 Trustee (electronically)




                                                  18
